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 1   BENJAMIN B. WAGNER
     United States Attorney
 2   PAUL A. HEMESATH
     Assistant U.S. Attorney
 3   501 I Street, 10th Floor
     Sacramento, California 95814
 4   Telephone: (916) 554-2932
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 7
 8              IN THE UNITED STATES DISTRICT COURT FOR THE
 9                     EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,     ) NO. 2:10-CR-00009 FCD
                                   )
12                  Plaintiff,     ) STIPULATION AND ORDER
                                   )
13                  v.             ) Date: June 28, 2010
                                   ) Time: 10:00 a.m.
14   ANTONIO GUERRERO, and         ) The Hon. Frank C. Damrell
     FRANCISCO GARIN,              )
15                                 )
                    Defendants.    )
16   ______________________________)
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18
          IT IS HEREBY STIPULATED by and between Assistant United
19
     States Attorney Paul Hemesath, counsel for Plaintiff, and J. Tony
20
     Serra and Kali S. Grech, counsel for defendant Francisco GARIN
21
     and Nedra Ruiz, counsel for defendant Antonio GUERRERO, that the
22
     above hearing be rescheduled from this Court’s June 28, 2010,
23
     2010, calendar, and that the matter be re-calendared for
24
     September 13, 2010, at 10:00 a.m.      Furthermore, the parties
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     stipulate that the briefing schedule be changed to the following:
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     government’s response brief due August 16, 2010; defendant’s
27
     reply brief due August 30, 2010.       This request is made jointly by
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 1   the government and defense in order to permit time for continued
 2   preparation, including investigation which is currently in
 3   progress, and plea negotiations.
 4        IT IS FURTHER STIPULATED that time be excluded between June
 5   28, 2010, and September 13, 2010, pursuant to 18 U.S.C. §
 6   3161(h)(7)(A) & (B)(ii)&(iv), Local Code T-4.
 7
 8
 9   Dated: June 10, 2010              /s/ Paul Hemesath
                                      Paul Hemesath
10                                    Assistant United States Attorney
                                      Counsel for Plaintiff
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12
     Dated: June 10, 2010             /s/ Kali S. Grech
13                                    Kali S. Grech
                                      Counsel for Defendant
14                                    FRANCISCO GARIN
15   Dated: June 14, 2010             /s/ Nedra Ruiz
                                      Nedra Ruiz
16                                    Counsel for Defendant
                                      ANTONIO GUERRERO
17
18
                                    O R D E R
19
20        IT IS SO ORDERED.
21
22
     Dated: June 17, 2010
23
24                                     _______________________________________
25                                     FRANK C. DAMRELL, JR.
                                       UNITED STATES DISTRICT JUDGE
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